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AFFIDAVIT

 

I, BJ Kang, being sworn, state: é)
INTRODUCTION AND AGENT BACKGROUND Oe.

1, I have been a Special Agent with the Federal Bureau of Investigation crf Se
since 2005. During that time, I have participated in numerous investigations of fraud relating o&
the securities markets, including accounting fraud, market manipulation, insider trading, and
Ponzi schemes. J have conducted or participated in arrests, the execution of search warrants,
surveillance, debriefings of informants, and reviews of recorded conversations and reo)
trading records. I am currently assigned to the FBI Washington Field Office (“WFO”) Meth
computer intrusion squad, where I investigate crimes involving computer intrusions and other
cyber related matters. Before my assignment to WFO, I was a Supervisory Special Agent at FBI
cyber headquarters, where I provided support to financially motivated cyber intrusion
investigations. I have also received training in cybercrime investigation techniques, computer
evidence identification, and analyzing and tracing digital currency.

2. Jam a “federal law enforcement officer” within the meaning of Fed. R. Crim. P.
41(a)(2)(C), that is, a government agent authorized to enforce criminal laws and duly authorized
by the Attorney General to execute warrants issued under the authority of the United States.

ae I make this affidavit in support of an application for a complaint charging
VLADISLAV DMITRIYEVICH KLYUSHIN, also known as VLADISLAV KLIUSHIN, IVAN
SERGEYEVICH ERMAKOV, also known as IVAN YERMAKOV, IGOR SERGEEVICH
SLADKOV, MIKHAIL VLADIMIROVICH IRZAK, also known as MIKKA IRZAK, and
NIKOLAI MIKHAYLOVICH RUMIANTCEYV, also known as NIKOLAY RUMYANTSEV,

with conspiracy to commit computer intrusion, wire fraud and securities fraud, in violation of

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Title 18, United States Code, Section 371, and contrary to Title 18, United States Code, Sections
1030(a)(4) and 1343, and Title 15, United States Code, Sections 78j(b) and 78ff(a), respectively,
and for warrants to arrest KLYUSHIN, ERMAKOV, IRZAK, SLADKOV and RUMIANTCEV
on these charges.

4. I have personally participated in the investigation, and the facts in this affidavit
come from, among other things, my personal observations, my training and experience, publicly
available information, information obtained from the Securities and Exchange Commission
(“SEC”) and the Financial Industry Regulatory Authority (“FINRA”),! and information obtained
through legal process, Court orders, and Court-authorized search warrants. Unless otherwise
noted, all times are set forth in Moscow, Russia time and are approximate, and translations set
forth herein are draft translations. This affidavit is intended to show that there is probable cause
for the requested complaint and arrest warrants and does not set forth all of my knowledge about
this matter.

OVERVIEW

5, As set forth below, between at least in or about 2018 and 2020, KLYUSHIN,
ERMAKOV, SLADKOV, IRZAK, RUMIANTCEYV, and others known and unknown conspired
to trade in the securities of publicly traded companies based on material non-public information
(“MNPI”) about the earnings of those companies, in advance of the public announcements of

those financial results. The MNPI was acquired through unauthorized intrusions into the

 

I FINRA is a private, not-for-profit corporation that acts as a self-regulatory organization
for the brokerage industry. FINRA seeks to provide investor protection and ensure market
integrity through regulation of broker-dealers.
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computer networks of two U.S.-based filing agents—vendors that publicly traded companies use
to make quarterly and annual filings through the SEC’s EDGAR system.”
6. Armed with this information before it was disclosed to the public, KLYUSHIN,
ERMAKOV, SLADKOV, IRZAK, RUMIANTCEYV, and others knew ahead of time, among
other things, whether a company’s financial performance would meet, exceed, or lag market
expectations—and thus whether its share price would likely rise or fall following the public
announcement of that performance—and they traded accordingly, in brokerage accounts held in
their own names and in the names of others.

7: In this fashion, KLYUSHIN, ERMAKOV, SLADKOV, IRZAK, and
RUMIANTCEY made tens of millions of dollars in illegal profits.

BACKGROUND
8. At all times relevant to this affidavit:
a. KLYUSHIN, ERMAKOV, SLADKOV, IRZAK, and RUMIANTCEV

were citizens of Russia,?

 

2 EDGAR, the Electronic Data Gathering, Analysis, and Retrieval system, is an online
database system maintained by the SEC, and accessible to the public, where publicly traded
companies and filing agents file regulatory documents such as annual reports and quarterly
earnings reports.

> On or about July 13, 2018, ERMAKOV and several Russian military intelligence
officers were indicted in the United States District Court for the District of Columbia on various
charges—including conspiracy, false registration of a domain name, aggravated identity theft,
conspiracy to commit money laundering, conspiracy to commit computer fraud, conspiracy to
commit wire fraud, and wire fraud—in connection with their alleged roles in interfering with the
2016 United States elections by way of computer hacking. Additionally, on or about October 3,
2018, ERMAKOV and several other Russian citizens were indicted in the United States District
Court for the Western District of Pennsylvania on charges—including conspiracy to commit
computer fraud, conspiracy to commit wire fraud, wire fraud, aggravated identity theft, and
conspiracy to commit money laundering—in connection with their alleged roles in hacking and

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b. KLYUSHIN, ERMAKOV, and RUMIANTCEV were employed by M-13
LLC (“M-13” or “M13”), which purported to be a Moscow, Russia-based information
technology (“IT”) company. Based on open-source research and my review of records obtained
during the course of this investigation, | am aware that M-13 purports to provide, among other
things, “monitoring and analytics of media and social media messages” and penetration testing
services. Penetration testing, also called pen testing, is an authorized, simulated cyberattack that
is used to evaluate an organization’s ability to protect its computer system, network, and
applications. A pen test looks for exploitable vulnerabilities in a computer system that could be
leveraged by a hacker to gain unauthorized access to the system. According to M-13’s website,
the company’s “IT solutions” are used by “the Administration of the President of the Russian
Federation, ihe Government of the Russian Federation, federal ministries and departments,
regional state executive bodies, commercial companies and public organizations.” Based on my
review of records obtained during the course of this investigation, I am aware that KLYUSHIN
was M-13’s first deputy general director, and ERMAKOV and RUMIANTCEV were deputy
general directors.

@. IRZAK held an account in his own name at Interactive Brokers, LLC
(“IB”), a retail brokerage firm with operations in the United States (the “IRZAK IB Account”),
with Saxo Bank, a Denmark-based investment bank that specializes in online trading (the
“IRZAIK Saxo Account”), and with Millennium bep, a Portugal-based bank that provides

brokerage services (the “IRZAK Millennium Account”).

 

related disinformation operations targeting international anti-doping agencies, sporting
federations, and anti-doping officials.
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d. SLADKOY held brokerage accounts in his own name at
BrokerCreditService Ltd. (“BCS”), a financial services company with operations in Cyprus and
Russia (the “SLADKOV BCS Accounts”).

€. KLYUSHIN held a brokerage account in his own name at Saxo Bank (the
“KLYUSHIN Saxo Account”). As set forth below, ERMAKOV sometimes executed trades in
the KLYUSHIN Saxo Account.

f. Filing Agent 1 (“FA 1” and Filing Agent 2 (“FA 2”) operated in the
United States and accepted for filing through EDGAR quarterly and annual financial results from
publicly traded companies before those results were made public.

Network Intrusions at FA I

0 In or about January 2020, FA 1 reported to the FBI that its computer network had
been compromised. FA 1 records suggest that the compromise began as early as November
2018.

10. According to FA 1, intruders gained access to the login credentials (7.e.,
usernames and passwords) of one or more of its employees and used them to access the
company’s network without authorization and to view and/or download earnings-related files,
including drafts of SEC filings and press releases, for several publicly traded companies.

11. For example, on or about January 21, 2020, between 8:58 a.m. and 9:34 a.m.
(ET), an FA 1 employee’s compromised login credentials were used to gain unauthorized access
to drafts of earnings press releases of several publicly traded companies—including IBM Coyp.,
Steel Dynamics, Inc., and Avnet, Inc.—before those companies announced their 2019 financial

results after the market closed that day, and on January 22 and January 23, 2020, respectively.
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Network Intrusions at FA 2

12. In or about January 2020, FA 2 likewise reported to the FBI that its computer

network had been compromised using an FA 2 employee’s compromised login credentials, and

that the intruders had gained unauthorized access to earnings-related files of FA 2’s publicly

traded clients. Based on records obtained during the course of this investigation, it appears that

the FA 2 compromise began as early as October 2017.

13. The table below sets forth some of the dates that the earnings-related files of

particular companies were accessed and/or downloaded without authorization using the FA 2

employee’s login credentials, together with the dates those companies publicly released their

earnings and—to the extent reflected in the logs—which earnings-related files were accessed

and/or downloaded.

UNAUTHORIZED EARNINGS

ACCESS DATE

02/05/2018

04/27/2018

_ 07/24/2018

07/24/2018

07/24/2018

— OTRARS
OTRAS
“07242018

04/27/2018

RELEASE
_DATE

02/06/2018

05/01/2018

_ COMPANY

‘Snap, Inc.

Nanometrics, Inc.

05/01/2018 McGrath Rentcorp.

_ 07/25/2018 |
07/26/2018

07/26/2018

_ 07/26/2018

 

07/26/2018

Grubbub, Inc. _
Patterson-UTI Energy,
Inc,

Ultra Clean Holdings,
Inc.

‘CNH Industrial, N-V.
07/25/2018 Getty Realty Corp.

Essendant, Inc. _

FILES ACCESSED

Form 8-K, Form 10-K,
Form 10-Q,
Exhibit_99_1-docx*
Exhibit 99.1 docx

__ Exhibit 99.1.docx
__ Earnings Release.docx

 

Exhibit99_1.docx
Form 10-Q

Form 6-K>
_ Form 8-K _

_. Eamings Release _

4 In quarterly and annual reports filed with the SEC, Exhibit 99.1 (or Exhibit 99-1}
typically refers to an earnings-related press release.

> Form 6-K is a filing submitted to the SEC by certain foreign private issuers.

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Earnings Slides

 

07/24/2018 — 07/26/2018 _ The Nielsen Company _ _ Exhibit 99.1 docx
10/12/2018 10/16/2018 Equity Bancshares, Earnings Release _Q3. docx
Inc.
10/12/2018 10/17/2018 Brandywine Realty Exhibit 99.1docx
Trust
10/12/2018 10/19/2018 Mobile Mini, Inc. Exhibit99_1.docx
10/24/2018 10/24/2018 Tesla, Inc. Exhibit 99.1
10/26/2018 10/31/2018  SS&C Technologies 99.1 .docx
10/29/2018 . Form 8-K
(1082008
11/04/2018 (11/5/2018 ~~ Nevro Corp. _ Exhibit99_1. docx __
11/23/2018 11/28/2018 Box, Inc. Exhibit 99.1
11/27/2018
11/28/2018 - Be
02/25/2019 02/26/2019 Tandem Diabetes 2019_02_26ER.docx
02/26/2019 Care, Ine.
05/20/2019 05/21/2019 Kohl’s Corporation _ Exhibit99_].docx
07/22/2019 07/22/2019 HXL Form 8-K
ce Earnings Release.docx
07/23/2019 07/25/2019 AIMC Form 8-K
Exhibit_99.1.docx
oo - Exhibit_99.2.pptx.
07/28/2019 07/29/2019 Medpace _ | Exhibit 99.1 docx
10/17/2019 10/22/2019 Manhattan Associates, Exhibit 99.1
10/22/2019 Ine. |
10/31/2019 11/06/2019 Roku Form 8-K
11/01/2019 Exhibit 99.1docx
11/04/2019
11/05/2019
1yoe20i9 _ .
11/05/2019 11/05/2019 = Ichor Form 8-K
. _ oo _ _EBxhibit 99 I.docx _
10/05/2019 11/05/2019 _Hubspot Form 8K
11/08/2019 11/12/2019 Datadog, Inc. Exhibit 99.1. docx.
11/25/2019 11/25/2019 Beacon Roofing Ex-99.1.docx
ee Supply, Inc.
05/18/2020 05/27/2020 Box, Inc. Form 8-K
05/21/2020 Exhibit 99.1.docx
05/26/2020
05/27/2020
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14. Based on my investigation, I am aware that, on at least several occasions, the
intruders used computer servers located in the District of Massachusetts as part of their scheme.
For example, the unauthorized access to Tesla’s earnings-related files on or about October 24,
2018 originated from an internet protocol (“IP”) address leased to a virtual private network
(“VPN”) provider and hosted at a data center located in Massachusetts.

15. Based on my review of records obtained during the course of my investigation, |
believe that the compromise of FA 2’s network was related to the compromise of FA 1’s
network. Among other things, J am aware that, between on or about October i1, 2019 and
November 4, 2019, at least three IP addresses associated with another VPN provider were used
to gain unauthorized access to both FA 1°s and FA 2’s networks using compromised employee
login credentials.

ERMAKOV and Intrusions at FA 2

16. Based on my review of records obtained from a U.S.-based technology company
(the “Tech Company”), I have learned that on or about May 9, 2018, at 3:44 a.m. (ET), an
account linked to ERMAKOY received an update for three native applications associated to the
Tech Company. Records show that the May 9, 2018 application updates were associated to IP

address 119.204.194.11 (the “119 IP Address”).

 

6 A VPN creates a secure, encrypted connection between a computer and a VPN server
located elsewhere. A VPN can be used to hide the computer’s IP address by replacing it with the
VPN provider’s IP address.
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17. Based on my review of a log file from FA 2, I learned that on or about that same
day, May 9, 2018, starting at 3:46 am. (ET)—approximately two minutes after ERMAKOV
received application updates from the Tech Company—the FA 2 employee’s compromised login
credentials were used to gain unauthorized access to FA 2’s system from the same 119 IP
Address, and to view and/or download earnings-related files of four companies: Cytomx
Therapeutics, Horizon Therapeutics, Puma Biotechnology, and Synaptics.’ All four companies
reported their quarterly earnings later that day.

IRZAK’s and SLADKOV’s Trading Related to the Intrusions at FA I and FA 2

18.  IRZAK and SLADKOV both traded in the shares of most of the publicly traded
FA 1 and FA 2 clients listed above around the time of the public announcements of the
companies’ financial performance, and I have reviewed records indicating that SLADKOV
possessed earnings-related information of at least some of those companies prior to the time their
earnings were announced,

19. The trading by IRZAK and SLADKOV was remarkably profitable. For example,
between in or about August 2018 and November 2019, the IRZAK IB Account traded ahead of
the earnings announcements of approximately 149 companies with a 66 percent success rate—
meaning that IRZAK correctly anticipated whether a company’s stock price would rise or fall
following its earnings announcement approximately two-thirds of the time. Between in or about
December 2019 and August 2020, the IRZAK IB Account traded ahead of earnings

announcements of approximately 47 companies, generating profits of approximately $4.3

 

7 FA 2’s system was also accessed from the 119 IP Address on or about May 2, 2018 and
May 3, 2018.
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million. Since August 2020, approximately 169 companies in which IRZAK traded were clients
of either FA 1 or FA 2. Several examples of IRZAK’s timely trading are described below.

Snap, Ine.

20.  Onor about February 5, 2018, between 2:16 a.m. and 2:28 a.m. (ET), intruders
used the FA 2 employee’s login credentials to view and/or download drafts of earnings-related
press releases and SEC filings of Snap, Inc. The intrusion took place one day before Snap
reported its fourth quarter and full year 2017 financial results.

21. As part of the investigation, I have obtained a copy of a photograph that was in
SLADKOV’s possession. The photograph depicts a black Acer computer with a blue Band-Aid
or sticker showing the logo of the Russian Olympic Committee (the “Russian Olympic
Comunittee Sticker”) covering the computer’s camera. The document on the computer screen
appears to be part of the press release announcing Snap’s fourth quarter and full year 2017
financial results. The timestamp of the photograph is February 6, 2018 at 8:13 a.m. (ET). Based
on my review of the SEC EDGAR filing system, I am aware that Snap’s Form 8-IK reporting the
company’s fourth quarter and full year 2017 financial results was not accepted for filing until
4:20 p.m. (ET) that same day—more than eight hours after the timestamp on SLADKOV’s
photograph. A copy of the press release displayed on the computer screen was appended to
Snap’s Form 8-K as Exhibit 99.1.

22.  Snap’s share price increased significantly following the public announcement of
its better-than-expected financial results. I have reviewed other photographs in SLADKOV’s
possession showing what appears to be the BCS trading application displaying the sale of

approximately 3,000 Snap shares in one of the SLADKOV BCS Accounts following the

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announcement. The top portion of one of the photographs lists SLADKOV’s full name in
Cyrillic and an IP address at the bottom that is associated with BCS.

Nanometrics and McGrath RentCorp.

23. On or about April 27, 2018, intruders gained unauthorized access to earnings-
related filings on FA 2’s network for Nanometrics, Inc. and McGrath Rentcorp. Both companies
reported their first quarter 2018 financial results four days later, after the stock market closed on
or about May 1, 2018.

24. Ihave obtained a copy of a May 2, 2018 photograph that was in SLADKOV’s
possession showing a computer screen—with the Russian Olympic Committee Sticker covering
the computer’s camera—displaying what I believe to be trading activity in both Nanometrics and
McGrath using the BCS stock trading application. The photograph shows SLADKOV’s name in
Cyrillic and his BCS user identification number on the screen.

Seven Companies

25. On or about July 24, 2018, intruders leveraged the FA 2 employee’s compromised
login credentials to gain access to earnings-related files of seven publicly traded companies:
Grubhub, Inc., Patterson-UTI Energy, Inc., Ultra Clean Holdings, Inc., CNH Industrial N.V.,
Getty Realty Corp., Essendant, Inc., and The Nielsen Company. All seven companies reported
their quarterly earnings over the next two days.

26. Ihave reviewed another SLADKOV photograph dated July 24, 2018, at 2:05 p.m.
(ET). The photograph appears to show IRZAK sitting at a brown table with two computers, note
pads, a blue pen, and a smartphone, among other items. One of the computers is the black Acer

laptop with the Russian Olympic Committee Sticker covering the computer camera. A second

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photo, taken approximately two minutes later, shows SLADKOV facing the camera and IRZAK
staxing at an Apple iMac computer next to the Acer laptop. Facebook location data® indicates
that IRZAK was at or in close proximity to SLADKOV’s St, Petersburg, Russia residence at
approximately the time the photo was taken.”

27. Another SLADKOV photograph, dated July 25, 2018, appears to display trading
activity in one of the SLADKOV BCS Accounts in each of the seven companies whose financial
information was accessed without authorization the prior day.

Equity Bancshares, Brandywine Realty, and Mobile Mini

28. On or about October 12, 2018, compromised login credentials were used to gain
access to FA 2’s network to view earnings-related files of Equity Bancshares, Brandywine
Realty, and Mobile Mini.

29. | have reviewed a photograph in SLADKOV’s possession dated October 14,
2018, depicting a handwritten note resting on what appears to be a brown table. The note shows
the stock symbols for Equity Bancshares, Brandywine Realty, and Mobile Mini, with a rectangle

drawn around the three symbols and the word “short” handwritten in blue ink in English.

 

8 facebook records date, time, latitude, and longitude location data for the Facebook
account holder’s device linked to the Facebook account.

9 IRZAK lives approximately six miles from SLADKOV in St. Petersburg, Russia.

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30.  Onor about October 16, 2018, IRZAK sold short!® shares of Equity Bancshares in
the IRZAK 1B Account. Equity Bancshares reported its third quarter financial results later that
same day, after the market closed.

31. On or about October 17, 2018, IRZAK sold short shares of Brandywine Realty.
Brandywine Realty reported its third quarter financial results later that day, after the market
closed. Mobile Mini reported its third quarter financial results on or about October 19, 2018
before the market opened.

Tesla, Inc.

32. On or about October 24, 2018, approximately two hours after intruders accessed
FA 2’s network to view Tesla’s carnings-related information, IRZAK purchased approximately
200 shares of Tesla in the IRZAK IB Account. After the close of the market that day, Tesla
reported positive third quarter financial results. IRZAK sold all the Tesla shares for a profit of
approximately $3,500.

SSNC

33. [have reviewed a photograph in SLADKOV’s possession dated October 31,
2018, at 2:42 p.m. (ET), depicting part of what appears to be a press release announcing third
quarter 2018 financial results for SSNC. SSNC did not report its earnings results until after the

market closed that day.

 

'0 In general, “selling short” or “shorting” refers to selling a security with plans to buy it
back (or “cover” the position) later. Shorting is a strategy that is often used when investors
anticipate that the price of a security will fall prior to the expiration of the short position.

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Nevro

34, On or about November 4, 2018, intruders accessed FA 2’s network to view
Nevro’s earnings-related information. The next day, IRZAK sold short approximately 1,009
Nevro shares. After the close of the market, Nevro announced third quarter 2018 financial
results that missed consensus estimates.

35. IRZAK covered his short positions the following day, realizing an overnight
profit of approximately $6,800.

Box — November 2018

36. Onand before November 28, 2018, intruders downloaded Box’s draft earnings
press release from FA 2’s network. That same day, IRZAK purchased approximately 3,800
shares of Box in the IRZAK IB Account. After the close of the market, Box reported third
quarter 2018 financial results that exceeded market estimates. IRZAK sold his 3,800 Box shares
for a profit of approximately $3,400.

Tandem Diabetes Care

37. Based on review of a log file from FA 2, IJ learned that on or about February 25,
2019 and February 26, 2019, the FA 2 employee’s compromised login credentials were used to
gain unauthorized access to earnings-related files of Tandem.

38. Based on review of SLADKOV’s BCS trading activity, I learned that between
February 25 and February 26, 2019, SLADKOV purchased 33,000 shares of Tandem in one of
the SLADKOV BCS Accounts.

39, Likewise, on or about February 26, 2019, IRZAK purchased 2,000 shares of

Tandem in the IRZAK IB Account. After the close of the market, Tandem announced its fourth

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quarter and full-year 2018 financial results. IRZAK subsequently sold his Tandem shares for a
profit of approximately $10,000. SLADKOV sold his Tandem shares for a profit of
approximately $350,000.

Kohl's

40. On or about May 20, 2019, between 8:28 a.m. and 8:30 a.m. (ET), FA 2’s system
was accessed without authorization to view Kohl’s earnings-related information.

41. Beginning at 9:50 a.m. (ET) that same day, SLADKOV opened short positions in
one of the SLADKOV BCS Accounts in 60,000 Kohl’s shares.

42, Beginning at 10:01 a.m, (ET), IRZAK opened short positions in the IRZAK IB
Account in 7,000 Kohl’s shares. IRZAK also opened short positions in another 4.000 Kohl’s
shares in the IRZAK Saxo Account.!! I have reviewed communications between and among

IRZAK, SLADKOV, and a Saxo Bank representative which indicate that IRZAK and

SLADKOV jointly opened the Saxo account just over one year earlier. !?

43.  Onor about the following day, before the stock market opened, Kohl’s publicly

announced financial results that fell below analyst expectations, prompting its share price to fall.

 

The trading by IRZAK in the Saxo account utilized contracts for difference (“CFDs”),
which allow traders to participate in the price movements of securities without actually owning
those securities. For example, a trader can purchase a long or short position in a CFD that tracks
the price of the stock of a publicly traded U.S. company. The value of the CFD will increase or
decrease depending on whether the price of the underlying stock increases or decreases.

12 On or about March 12, 2018, IRZAK received an e-mail from a Saxo Bank
representative regarding certain bank policies. IRZAK subsequently forwarded the Saxo e-mail
to SLADKOV. The next day, IRZAK sent the Saxo representative an e-mail in Cyrillic that
reads, in substance: “Good afternoon, Sergey! Thanks for the info. My partner and I decided to
open a trial account for a small amount, try services, etc. ] want to deposit 20,000 USD in my
name. How do we proceed? Michael.”

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44. Beginning within minutes of the Kohl’s announcement, IRZAK covered his short
positions, earning an overnight profit of approximately $41,000 in the IRZAK IB Account and
approximately $29,000 in the IRZAK Saxo Account. SLADKOV also covered his short
positions, earning an overnight profit of approximately $400,000. That same day, SLADKOV
and ERMAKOV shared screenshots showing Kohl’s share price.

Manhattan Associates, Inc.

45.  Onor about October 22, 2019, between 3:45 p.m. and 3:52 p.m. (ET), hours after
the FA 2 employee’s login credentials were used to access earnings-related information of
Manhattan Associates, IRZAK purchased approximately 5,000 shares of Manhattan Associates
in the IRZAK IB Account.

46. Manhattan Associates reported record third quarter financial results
approximately 20 minutes later, after the close of the market, prompting its share price to
increase.

47. IRZAK promptly sold the shares of Manhattan Associates he had just purchased,
earning a profit of approximately $23,000.

Datadog, Ine.

48. On or about November 11, 2019—approximately three days after the FA 2
employee’s login credentials were used to access earnings-related information of Datadop—
IRZAK. purchased approximately 6,000 shares of Datadog in the IRZAK IB Account. IRZAK
purchased approximately 24,000 additional shares the following day.

49.  Onthe same day, November 11, 2019, IRZAK also purchased approximately

3,000 shares of Datadog in the IRZAK Millennium Account.

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50. After the stock market closed on November 12, 2019, Datadog announced
positive third quarter financial results, prompting its share price to increase.

51. IRZAK promptly sold all of the shares of Datadog he had just acquired, earning a
profit of approximately $120,000 in the IRZAK IB Account and approximately $19,500 in the
IRZAK Millennium Account.

Beacon Roofing Supply, Inc.

52.  Onor about November 25, 2019, just hours after Beacon’s earnings press release
was accessed by way of the FA 2 employee’s compromised login credentials, IRZAK sold short
approximately 15,000 shares of Beacon Roofing Supply in the IRZAK IB Account.

53. That same day, after the close of the market, Beacon reported fourth quarter
Gnancial results that fell short of analysts’ consensus projections. Following the announcement,
the price of Beacon’s shares declined.

54. IRZAK covered most of his short position the following moming, earning a profit
of approximately $35,000.

55. Based on records I have reviewed, SLADKOV traded Manhatian Associates,
Datadog, and Beacon in parallel with IRZAK im one of the SLADKOV BCS Accounts, earning
approximately $700,000 in combined profits.

IBM

56. As noted above, on or about January 21, 2020, between 8:58 a.m. and 9:34 a.m.
(ET), an FA 1 employee’s compromised login credentials were leveraged to access [BM’s draft

earnings press release.

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57, That same day, beginning at 10:40 a.m. (ET), IRZAK purchased approximately
5,000 shares of IBM in the IRZAK IB Account.

58. After the close of the market, IBM reported favorable fourth quarter and full year
2019 earnings results, prompting its share price to increase.

59. 1RZAK sold all the IBM shares he had just acquired the following morning,
earning a profit of approximately $34,000.

Avnet, Inc.

60. Onor about January 23, 2020, two days after intruders accessed earnings-related
information of Avnet at FA 1, IRZAK sold short approximately 12,000 shares of Avnet in the
IRZAK IB Account.

61. After the market closed that day, Avnet reported its second quarter 2020 financial
earnings that fell short of analysts’ estimates.

Box — May 2020

62. Onor about May 27, 2020, and on various dates before then, intruders accessed
FA 2’s network and viewed unreleased drafts of the press release announcing Box’s financial
results for the first quarter of fiscal 2021.

63. Later that same day, IRZAK purchased approximately 20,000 Box shares in the
IRZAK IB Account.

64. At approximately 3:47 p.m. (ET)—shortly before the close of the market-—
SLADKOV shared a screenshot with a BCS representative showing what appears to be the BCS
trading application displaying trading activity in Box. The top portion of the screenshot lists

SLADKOV’s name in English.

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65. After the close of the market, Box reported quarterly earnings and revenue that
exceeded Wall Street estimates.

66. IRZAK promptly sold all of his Box shares, earning a profit of approximately
$16,000.

Trading By ERMAKOV and KLYUSHIN in Companies Affected by the Intrusions

67. ERMAKOV and KLYUSHIN also traded profitably in shares of companies

whose earnings-related information was improperly accessed.!9

68.  Lhave reviewed records indicating that ERMAKOV has SaxoTraderGO, a mobile

trading app for Saxo Bank clients, on his smartphone. The records include an image of a

 

13 T have reviewed communications in which KLYUSHIN and ERMAKOV discussed
using the proceeds of their trading to purchase real estate. For example, on or about June 30,
2020, ERMAKOV sent KLYUSHIN a brochure for a residential property located in Moscow,
Russia. ERMAKOV and KLYUSHIN then engaged in the following message conversation in
which they discussed “earning” money to purchase the property by “turn[ing] on the computer”
instead of by working:

ERMAKOV: 324

ERMAKOV: Final price

KLYUSHIN: if there’s money it could be bought
KLYUSHIN: i'm not ready

ERMAKOV: Me too for now

KLYUSHIN: key word for now [three smiles]
KLYUSHIN: apartment is cool

ERMAKOV: [winking face emoji]

KLYUSFON: we ll earn and then we can buy [it]
ERMAKOV: Need to go to work then [smile]
KLYUSHIN: no need to

KLYUSHIN: Just turn on the computer
KLYUSHIN: [three smiles]

KLYUSHIN: and give it a little thought [three smiles]
ERMAKOV: I already thought yesterday
ERMAKOV: Today I will think some more [smile]
KLYUSHIN: [four loudly crying face emojis]

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“Trading” screen dated January 23, 2020 from the SaxoTraderGO app on ERMAKOV’s
smartphone. The screen shows a “Trade Ticket” order for Avnet and a Saxo trading account
number that I know based on review of wire transfer information is associated to KLYUSHIN.
The Trade Ticket shows a “Net position” of “-36k” (or negative 36,000) prior to the close of the
market on January 23, 2020, and an available balance of approximately $4.5 million. Based on
my review of this image and my knowledge of this investigation, I believe that ERMAKOV has
access to KLYUSHIN’s Saxo trading account, and that he shorted Avnet using CFDs on or about
January 23, 2020.'* As noted above, that was two days after intruders accessed FA 1’s system to
view earnings-related information of Avnet, and the same day that IRZAK sold short shares of
Avnet.

69. KLYUSHIN also used at least one account at Otkritie Broker, Ltd. (“OTK

Broker”), a Russia-based bank that provides brokerage services, to trade in shares of companies

whose earmings-related information the intruders accessed.!> The activity included trading in the

 

(emphasis added).

14 For example, on or about February 21, 2020, KLYUSHIN and ERMAKOV had the
following message exchange regarding a Saxo account:

KLYUSHIN: Let me help you with saxo

KLYUSHIN: if you need [me], otherwise i’m sitting here with nothing to do
ERMAKOV: I [can do it] myself

KLYUSHIN: ok

ERMAKOV: Thanks

15 Tn connection with his purchase of a yacht, KLYUSHIN provided income
documentation that included OTK brokerage account records for the period between July 17,
2018 and November 29, 2018.

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shares of 52 companies, including Snap, Tesla, Kohl’s, SSNC, and Box. All but one of the
companies used FA 2 as their filing agent.

70. As noted above, intruders downloaded Box’s draft earnings press release from
FA 2’s system on and before November 28, 2018, and IRZAK executed timely trades in that
company’s stock the same day, just before Box released its earnings report to the public. Five
days later, on or about December 3, 2018, KLYUSHIN and ERMAKOV engaged in the

following message conversation about closing out a position in “box”:!6

ERMAKOV: hi

ERMAKOV: I wont be able to call you back

ERMAKOV: forgot [my] telephone at work

KLYUSHIN: Hi. 1 wanted to see how your trades are going [smile]
it’s that Kolya’s away on vacation"?

ERMAKOV: our assets have grown

ERMAKOV: some I will close today

ERMALOV: we will wait a bit more on the other ones

ERMAKOV: it’s painful they have fallen badly, we need to wait a bit more

KLYUSHIN: ok

ERMAKOV: I will close box today [emphasis added]

KLYUSHIN: thanks for the info [smile]

 

16 Unless otherwise noted, all message conversations referenced herein are draft

translations from Cyrillic.

17 t am aware that “Kolya” is short for Nikolay or Nikolai. Based on my knowledge of

this investigation and review of records, I believe that Kolya is a reference to RUMIANTCEV.

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ERMAKOY: you're welcome, sorry it wasn’t timely
ERMABOV: iam fighting with two [redacted]!
KLYUSHIN: you're crazy [two smiles] you are always super timely

[three smiles]
ERMAKOV: thanks [three smiles]

KLYUSHIN, ERMAKOV, and RUMIANTCEV Managed Others’ Trading
Accounts in Furtherance of the Scheme

71.  Lalso have probable cause to believe that KLYUSHIN, ERMAKOV, and
RUMIANTCEV have engaged in profitable trading on behalf of other individuals while in
possession of MNP] that was accessed without authorization from FA 1’s and FA 2’s system
using compromised login credentials. As previously noted, all three men are listed as employees
of M-13, a purported IT company based in Moscow, Russia. I further have probable cause to
believe that KLYUSHIN, ERMAKOV, and RUMIANTCEV received a portion of the illicit
trading profits they generated for their clients.

Trading on Behalf of Alexander Borodaev and Boris Varshavskip

7A. On or about October 24, 2018, at 1:28 p.m. (ET), hours after intruders accessed
FA 2’s system to view Tesla’s draft earnings press release, and before Tesla had publicly

announced its earnings, KLYUSHIN sent the following message to two individuals, Alexander
Borodaev (also known as “Sasha”) and Boris Varshavskiy:!8

KLYUSHIN: Pay attention to shares of Tesla now and tomorrow after 16:30 and
on how much they go up

 

18 As noted above, IRZAK also engaged in timely trading in Tesla shares in the IRZAK
IB Account just before Tesla reported positive financial results for the third quarter of 2018.

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73.  At4:18 p.m. (ET), KLYUSHIN sent Borodaev and Varshavskty a smartphone

screenshot showing Tesla’s stock price at $288.50, down 1.92 percent. One minute later,

KLYUSHIN sent the following message to them:

KLYUSHIN:

tt was 288 but after the close it was already 308, and tomorrow
will most likely hit 330 that’s 10 [percent]. And with a shoulder 2-
3 times its almost 25 [percent]. But such deals don’t happen often
in a quarter.

74.  Onor about February 7, 2019, between 9:52 p.m. and 9:59 p.m., KLYUSHIN

engaged in the following group chat conversation with Borodaev and Varshavskiy:

KUYUSHIN:

KLYUSHIN:

KLYUSHIN:
Borodaey:
Varshavskiy:

KLYUSHIN:

preliminary report on stock trading for now all is not as we would
have wished. Boris $173 861 Alexander $155 821. The end
results we will figure in the end of February and we can pay the 13

' [percent] of added tax value and we split the remainder. [emphasis

added]

Boris was more lucky he has added 34 [percent] while Alexander
had only 15 [percent]

But we are working and hope to rectify the situation

Good result! Who pays the 13 [percent], we or the broker?

Vlad [face with tears of joy emoji] !

Who pays I don’t know. When we finish the quarter I'll clear it up
and tell [you]. But I think the first profits we can withdraw in

March and leave 1 million nominal with Sasha and 500k with
Boris. Or however it suits you.

75. Based on my training and experience and my knowledge of this investigation, |

believe KLYUSHIN was relaying to Borodaev and Varshavskiy their profits on the trades he had

conducted on their behalf. I further believe that his reference to “split[ting] the remainder” after

paying taxes was to the portion of the profit from that trading that he would retain.

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76.  Onor about March 11, 2019, at 10:41 am., SLYUSHIN sent the following

message to Borodaev and Varshavskiy:

KLYUSHIN:

Good morning! I have returned, am rested and ready to work
[smile]. I congratulate Boris on his super result earning $632k in 4
months, and Alexander a little worse than that at $461k. Also the
brokers added a new function and one can watch their portfolio
online, below I am sending you a login and password, and you can
check it any time. There will be no more trading until April 15 so
you may withdraw extra funds.

KLYUSHIN then provided Borodaev and Varshavskiy with the login name and password to

their OTIC Broker trading accounts in their individual names.

77. On or about May 25, 2019, KLYUSHIN and ERMAKOV engaged in the

following message conversation:

KLYUSHIN:

ERMAKOV:

KLYUSHIN:
KLYUSHIN:
KLYUSHIN:
KLYUSHIN:
KLYUSHIN:

KLYUSHIN:

[I] counted for Boris [and he’s got] 198 [percent] profitability
starting November | 18 [2018] ending May 25, 2019

And for Sasha [Alexander Borodaev]?!°

one second

69.3 [percent] [three faces with tears of joy emoji]

Boris earned $989k on 500k

Sasha $693k on 1 million [smile]

They don’t even ask why so anymore [smile]

I said strategies are different and we are looking closely for now

[smile]

 

19 On or about November 19, 2020, ERMAKOV and Borodaev exchanged multiple

messages.

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ERMAKOV: [thumbs up emoji] [three faces with tears of joy emoji]

78. Onor about June 13, 2019, at 2:58 p.m., KLYUSHIN messaged ERMAKOV the
following: “Kolya’s [RUMIANTCEV] assets have grown [three smiles].” At 5:23 p.m.,
ERMAKOV responded: “Yes [smile].”

79, On or about July 25, 2019, KLYUSHIN sent Borodaev and Varshavskiy
statements of the trading activity in their OTK Broker accounts. The documents indicate that
during the three-day period between July 22, 2019 and July 24, 2019, Borodaev’s OTK Broker
account traded in shares of eight companies. Four of those companies—3M Company (“3M”),
Amphenol Corporation, CoreSite Realty Corp, and Steel Dynamics—used FA 1 as their filing
agent, while the remaining four companies—AIMC, Tesla, Snap, and Hexcel Corporation—used
FA 2 as their filing agent. All eight companies reported their second quarter 2019 financial
results between July 22, 2019 and July 25, 2019.

80. Over the same three-day period, Varshavskiy’s OTK. Broker account traded in
parallel with Borodaev’s OTK Broker Account in five of the eight companies: 3M, Steel
Dynamics, Tesla, Snap, and Hexcel.

81. IRZAK and SLADKOV also traded in parallel with Varshavskiy’s and
Borodaev’s OTK Broker accounts in seven of the eight companies, in the IRZAK IB Account
and one of the SLADKOV BCS Accounts. IRZAK earned approximately $160,500 from his
trades, while SLADKOV made approximately $1.9 million.

82. Based on information provided by FA 2, I am aware that during the three-week
period leading up to that trading, the FA 2 employee’s login credentials were used without

authorization to access earnings-related files associated with AIMC, Hexcel, Tesla, and Snap.

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83. Likewise, according to a statement summarizing trading activity in Borodaev’s
OTK Broker account during the four-day period between July 26, 2019 and July 30, 2019, the
account traded in shares of six companies—Proofpoint, Paycom, SSNC, Grubhub, Medpace, and
Martin Marietta—all of which used FA 2 as their filing agent. And according to a statement
summarizing trading activity in Varshavskiy’s OTK. Broker account for the same period, the
account traded in parallel in all of those companies except Grubhub. All six companies reported
their second quarter 2019 financial results between July 25, 2019 and July 30, 2019.

84. IRZAK traded in parallel with Varshavskiy’s and Borodaev’s OTK Broker
accounts in all six companies, while SLADKOV traded in parallel in five of the companies in

one of the SLADKOV BCS Accounts.”” IRZAK earned approximately $98,000 from his trades

while SLADKOV earned approximately $1.2 million.

85. Based on information provided by FA 2, I am aware that between on or about July
23, 2019 and July 29, 2019, the FA 2 employee’s login credentials were used to access earnings-
related files of all six companies.

86. Onor about November 7, 2019, KLYUSHIN sent Borodaev and Varshavskiy a
screenshot showing trading in Borodaev’s Saxo brokerage account in Ichor Holdings, Hubspot,
and Roku. As noted above, all three companies used FA 2 as their filing agent, and intruders
accessed FA 2’s system to view their earnings-related files shortly before public announcements
of their earnings on November 5 and 6, 2019.

Trading on Behalf of Sergey Uryadov

 

20 IRZAK also traded Paycom in the IRZAK Millennium Account.

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87. Onor about Jume 9, 2020, KLYUSHIN sent RUMIANTCEV several photographs

of Varshavskiy and others on a small private jet, including a passenger identified as Sergey

Uryadov. KLYUSHIN and RUMIANTCEV then engaged in the following message

conversation in which they referred to Varshavskiy and Uryadov as their “investors”:

KLYUSHIN:

KLYUSHIN:

RUMIANTCEV:

KLYUSHIN:

RUMIANTCEV:

RUMIANTCEV:

KLYUSHIN:

KLYUSHIN:

RUMIANTCEV:

KLYUSHIN:

23.21

And here is the London with our investors [three smiles]
Recognize all of them? [smile]

Varshavskiy and Uryadov

Exactly

Is Varshavskiy still works with us on trading?

Or on some other projects

Of course, they split everything 50/50 with Borodaev

The 50 [percent] that Sasha [Alexander Borodaev] gives to
Boris

Oh, just decided to put it all in the name of one person, got it. Do
we leave their OBL accounts or close them?

Leave them

 

21 1 am aware based on documents and communications | have reviewed that
KLYUSHIN, ERMAKOV, Varshavskiy, and Uryadov are friendly with one another and travel
together. For example, I have reviewed photographs in KLYUSHIN’s possession of
Varshavskiy and Uryadov standing across the street from the headquarters of New Scotland
Yard, in London, England, and of himself with Uryadov in front of the United Kingdom Ministry
of Defense building. KL YUSHIN has also shared photographs of ERMAKOV with

Varshavskiy.

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88. Based on my review of records obtained during the course of my investigation, |

believe that when RUMIANTCEV asked KLYUSHIN about “their OBL accounts,” he was

referring to Varshavskiy’s, Uryadov’s, and Borodaev’s OTK accounts.”

89. According to information obtained from FINRA, between on or about October 16,
2019, and November 7, 2019, a client account at OTK Broker (the “OTK Client Account”)
profitably traded ahead of quarterly earnings announcements of approximately 27 companies,
realizing overall combined profits of approximately $7 million in less than 30 days. Based on
my training and experience and my knowledge of this investigation, I believe the OTK Client
Account may be an omnibus account representing multiple OTK Broker clients.

90.  Ofthe 27 companies, approximately 16 used FA 2 as their filing agent, and the
yemaining 11 used FA 1 as their filing agent. Based on information provided by FA 2, I am
aware that between on or about October 17, 2019 and November 6, 2019, the FA 2 employee’s

login credentials were used to gain unauthorized access to earnings-related files ofall 16 FA2

 

22 1 have also reviewed communications in which KLYUSHIN and Uryadov discussed
the proceeds from trading. On or about June 13, 2019, KLYUSHIN sent Uryadov a picture of
what appears to be a leather carry bag and then engaged in the following message conversation:

KLYUSHIN: I had a good [profitable] day today

KLYUSHIN: We made 1.2 million dollars on [trades] in the stock exchange and
passed on 70 in suitcase [smile]

KLYUSHIN: I did my deed

Uryadov: You're the man

Uryadov: I’m proud of you

KLYUSHIN: Thank you [smile]

23 Ty or about October 2018, ERMAKOV installed the OTK Broker trading app on his
smartphone. IRZAK and SLADKOV traded in parallel with the OTK Client Account on several
occasions, including in shares of IBM, Avnet, Snap, Tesla, Skechers, and Manhattan Associates.
These companies all used either FA 1 or FA 2 as their filing agents.

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client companies, Approximately 11 of those 16 companies were accessed from the IP address

‘

64.42.179.59 (the “64 IP Address”), which was one of the IP addresses that had been collected

by FA 1 during the intrusion investigation as one of the indicators of compromise (“I0Cs”).74

91. Lhave reviewed a copy of Uryadov’s OTK Broker account statement (the
“Uryadov OTK Broker Account”) in KLYUSHIN’s possession for “Reporting date and time” of
October 28, 2019. The statement indicates that between October 23, 2019 and October 25, 2019,
the Uryadov OTK. Broker Account traded in parallel with the OTK Client Account in Six Flags,
3M, Manhattan Associates, Microsoft, Skechers, Tesla, Proofpoint, and Universal Health
surrounding their earnings. Six Flags and 3M used FA | as their filing agent while the rest used
FA 2 as their filing agent.

92. Based on my review of a log file from FA 2, I am aware that between on or about
October 17, 2019 and October 24, 2019, the FA 2 employee credentials were used to gain
unauthorized access to earnings-related files of Manhattan Associates, Microsoft, Skechers,
Tesla, Proofpoint, and Universal Health.

93. I have reviewed a smartphone screenshot in KLYUSHIN’s possession, dated on
or about July 27, 2020, displaying an e-mail to KLYUSHIN from RUMIANTCEV’s M-13 e-
mail account (NR[@JM13[.]ru). In the e-mail, which has the subject “Report on June-July
2020,” RUMIANTCEY indicated, in substance, that he was sending trading results from the

prior day, and the “profit for BURL” for the prior quarter. Based on my knowledge of this

 

24 Indicators of compromise (“IOCs”) serve as forensic evidence/artifacts of potential
intrusions on a network or a host system. [OCs enable system administrators or cyber security
experts to detect intrusion attempts or other malicious activities.

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investigation, I believe that BURL is a reference to Burlington Stores, Inc., which used FA 2 as

its filing agent. Based on review of a log file from FA 2, I am aware that on or about May 11,

May 18, May 21, May 26, and May 27, 2020, intruders used the 64 IP Address to gain
unauthorized access to earnings-related information of Burlington Stores.”°

94. The RUMIANTCEV e-mail contains a partial table with the columns broken
down by “Accounts;” “Changes to Portfolio for June | to July 24, 2020;” “Start-up Capital;”
“Value on July 24, 2020 at 23:00;” “Customer;” and “Share;” among others. The “Accounts”
column lists what appear to be trading accounts labeled as “VK_SAXO,” broken down further in
the “Customer” column as “VKS1,” “VKS2,” and “VKS3”. Based on the initials associated with
the accounts, as well as the fact that J have reviewed records of multiple wire transfers from
KLYUSHIN’s Russian Standard Bank account to Saxo Bank, I believe that KLYUSHIN may
have additional accounts with Saxo.”6

95. The Accounts column also lists what I believe to be trading accounts bearing
labels that included the following initials: “AB_SAXO,” “USS _SAXO,” “NR,” “M13,” “VE5,”

and “VK_BCS”. Based on the initials and my knowledge of this investigation, I believe the

“NR” trading account is RUMIANTCEV’s trading account, that “AB_SAXO” and

 

25 On or about May 21, May 26, and May 27, 2020, SLADKOV and a BCS
representative shared a screenshot of a computer screen of what appears to be SLADKOV’s BCS
trading app. The screenshot shows trading activity in BURL.

26 On or about January 17, 2020, approximately $505,367.59 was transferred from
KLYUSHIN’s Russian Standard Bank account to his Saxo account “FOR PARTICIPATION IN
TRADING.”

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“USS SAXO” are references to Borodaev’s and Uryadov’s Saxo trading accounts,”’ and that the

“VK_BCS,” account broken down further in the “Customer” column as “BCS1” and “BCS2” are

KLYUSHIN’s trading accounts with BCS Prime Brokerage Limited (UK) (“the KLYUSHIN
BCS Prime Account”).2* Based on my knowledge of this investigation and my review of the e-

mail noted above, I believe that the trading accounts labeled in the table are managed by

KLYUSHIN and RUMIANTCEV.”?

96, Additionally, KLYUSHIN has an image of another table dated August 7, 2019, at
6:51 p.m., with an “Accounts” column that lists what I believe to be trading accounts labeled
with KL YUSHINS’s initials “VK,” “VK2,” VK3,” “VK4,” “VES,” “VK_SAXO,”
Varshavskiy’s and Borodaev’s initials “BV” and “AB,” “SA,” Uryadov’s initials “USS,” “ASF,”
RUMIANTCEW’s initials “NR,” and “M13.” The table lists the combined amount on “7.08°—
which I believe to be a reference to August 7, 2019—as approximately $18.6 million, and the
combined amount earned for the quarter as approximately $7.7 million.

97, have reviewed a smartphone screenshot in KL YUSHIN’s possession, dated
September 17, 2020, displaying an e-mail from RUMIANTCEYV to KLYUSHIN. The subject of

the e-mail reads, in substance: “Fixed profit at the end of 3 quarter of 2020 for brokerage

 

27 1 am aware that Uryadov’s full name is Sergey Sergeyevich Uryadov and one of his ¢-
mail accounts is USS[@][redacted][.]su.

28 1 am aware that on or about January 29, 2020, approximately $3.3 million was
transferred from KLYUSHIN’s Russian Standard Bank to the KLYUSHIN BCS Prime Account.

29 1 have reviewed smartphone screenshot images in KL YUSHIN’s possession displaying
the KLYUSHIN Saxo Account and Borodaev’s and Uryadov’s Saxo trading accounts.

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account of Alexander Borodaev (draft).” The text of the e-mail reads, in substance: “Greetings.
The company M 13 has concluded 3 quarter 2020 and plans to fix profits according to trade
results details provided in the table.” The table shows the investment capital as approximately
$10 million and the profit on September 17, 2020 as approximately $1.3 million, and indicates
that M-13 would receive 60 percent of Borodaev’s net profit from the trading.

98. [have also reviewed a smartphone screenshot in KLYUSHIN’s possession dated
on or about September 18, 2020, displaying an e-mail from RUMIANTCEV to KLYUSHIN
with the subject: “RE: Fixed profit at the end of 3" quarter of 2020 for the brokerage account of
Sergey Uryadov (drafi).” The text of the e-mail reads, in substance: “Greetings. The company
M 13 has concluded 3" quarter 2020 and plans to fix profits according to trade results. Details
provided in the table.” The table shows the investment capital as approximately $5 million and
the profit on September 17, 2020 as approximately $1,125,273. The table shows that M-13
would receive 60 percent of Uryadov’s net profit from trading.

The FA 1 and FA 2 Intruders’ Connection to M-13, KLYUSHIN, ERMAKOY, and
RUMIANTCEV

99. According to FA 1, the following domains—all hosted by Vultr Holdings ~

Corporation—were used as part of the intrusion into FA 1’s network:
www.developingcloud[.Jinfo - “Vultr Domain 1”)
financecloudapi[.]com - (“Vultr Domain 2”)
cloudapifinance[. info - (*Vultr Domain 3”)
appfinreport[.]info - (Vultr Domain 4”)
fowallinform|[.Jinfo - (““Vultr Domain 5”)
www.finshopland[.]me - (“Vultr Domain 6”)

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www.shopservice[.]live - (“Vultr Domain 7”)
(collectively, “the Vultr Domains”)

100. For instance, according to FA 1, forensic artifacts revealed that on or about
January 17, 2020, Vultr Domain 1 connected with one of the computers on FA 1’s network, The
connection appears to have occurred via malware previously installed on FA 1’s network to
create a remote “backdoor” to FA 1’s network.*?

101. Forensic artifacts also revealed that Vultr Domain 6 and Vultr Domain 7—which

were registered with the domain registrar Namecheap on or about May 15, 2019—were found
encoded in a PowerShell command in one of FA 1’s computers.) The PowerShell command

containing these domains appears to have been executed on FA 1’s network for the purpose of
credential harvesting and/or to maintain a persistent presence in FA 1°s network environment.
102. Records obtained from Vultr reveal that the Vultr Domains are associated with a
Sweden-based hosting company, 99Stack.
103. Records obtained from 99Stack reveal that the IP addresses that pointed to the
Vultz Domains used in the FA 1 intrusion were assigned to a user account created in or about
August 2018 in the name of “Andrea Neumann” with an associated e-mail address of

neumann[@]dr.com (the “Neumann Account”).

 

30 A backdoor is a means to access a computer system or network that bypasses the
system’s customary security mechanisms.
y ary

31 PowerShell is a user interface, initially developed by Microsoft for the purposes of task
automation and configuration management, that gives its users access to various services of an
operating system. PowerShell allows users to automate tasks by creating scripts and combining
multiple commands.

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104. Records from 99Stack also reveal that the Neumann Account was registered from
the IP address 89.238.166.235 (the “First 89 IP Address”).

105. According to information obtained from FA 1, the First 89 IP Address was one of
the IOCs collected during FA 1’s intrusion investigation. Likewise, according to information
obtained from FA 2, the First 89 JP Address was among those used in October and November
2019 to gain unauthorized access to earnings-related information on FA 2’s system concerning
Sleep Number Corp., Tesla, Microsoft, and Tandem.

106. E-mails obtained from the Neumann Account pursuant to a Court-authorized
search warrant indicate that the account was used to register domain names with Namecheap.
Namecheap and BitPay account records indicate that a Bitcoin wallet was used to pay for
Neumann’s Namecheap account in or about August 2018 (the “Neumann BTC Wallet”).

107. Based on my review of Bitcoin transactions associated with the Neumann BTC
Wallet, I learned that on or about October 29, 2018, at 6:27 a.m. (ET), the Neumann BTC Wallet
sent .00516365 in Bitcoin (approximately $33.02) to fund another Bitcoin wallet (the “Second
BTC Wallet”).

108. On or about November 22, 2018, at 4:34 a.m. (ET), the Second BTC Wallet sent
0035 in Bitcoin (approximately $15.87) to fund a third Bitcoin wallet (the “Third BTC Wallet”).
Approximately two hours later, at 6:43 a.m. (ET), the Third BTC Wallet sent .000452
(approximately $2.02) to BitPay to fund a Namecheap account (the “November 22 BitPay
Transaction”).

109. Based on my training and experience investigating cyber and financial matters

and records obtained in the investigation to date, the use of chains of Bitcoin addresses to fund

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transactions is consistent with those Bitcoin addresses being controlled by a single accountholder
who is attempting to obfuscate the source of the Bitcoin. In other words, I believe that the same
individual controls the Neumann BTC Wallet, the Second BTC Wallet, the Third BTC Wallet,
and the Namecheap account for which the November 22 BitPay Transaction was made.

110. Based on my review of BitPay and Namecheap records, I learned that the
November 22 BitPay Transaction noted above is linked to a BitPay user with the e-mail address
Wan-Connie909(@]inbox[.]lv (the “Wan E-Mail Account”) who, according to BitPay, viewed
the November 22 BitPay Transaction invoice from IP address 89.107.124.42 (the “Second 89 IP
Address”). Namecheap account records associated to the Wan E-Mail Account also shows login
activity from the Second 89 IP Address on or about November 22, 2018, at 6:12 a.m. (ET).

89.107.124.42 - The M-13 IP Address

lll. Based on publicly available information and records gathered during the course of
this investigation, I am aware that M-13’s web address is hxxp://www].J]M13[.]su. Based on my
review of historical domain records and my review of records gathered during the course of this
investigation, I learned that a Google account and a Hotmail account that are associated to
RUMIANTCEYV are listed in the registrant section of M-13’s domain record.

112. Based on open-source research, I am aware that the Second 89 IP Address points
to canmos[.]ru (“Canmos”), which appears to be a Moscow, Russia-based internet service

provider. A sub-domain “m-13-9[.]canmos[.]ru,” which is believed to be a sub-domain related

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to M-13, is associated to the Second 89 IP Address.” A historical DNS query indicates that
another one of M-13’s sub-domains sip[.Jm13[.jsu also resolved to the Second 89 IP Address at
various times in 2016, 2017, and 2018.

113. As noted above, M-13 provides, among other things, penetration testing services.
Pen testing looks for exploitable vulnerabilities in computer systems that could be leveraged by
attackers.

114. Based on my review of records obtained during the course of this investigation, I
have learned that KLYUSHIN, ERMAKOV, and RUMIANTCEYV used the Second 89 IP
Address to access certain resources from the Tech Company between November 2018 and
September 2020. RUMIANTCEV did so on November 28, 2018—approximately six days after
the Second 89 IP Address was used to access a Namecheap account that is linked to the
Neumann Account. As noted above, the Neumann Account was provided to 99Stack in
connection with the lease of the Vultr infrastructure used to compromise FA 1, and the IP
address used to register the Neumann Account (7.e., the First 89 IP Address) was used to access
earnings-related files associated with FA 2’s publicly traded clients.

115. In 2020, KLYUSHIN, ERMAKOV, and RUMIANTCEV all used the Second 89
IP Address to send messages to each other and others. In KLYUSHIN’s case, he accessed the
private banking arm of Russian Standard Bank from the Second 89 IP Address on or about

January 29, 2020.

 

32 In general, a sub-domain is a separate part of the website that operates under the same
primary domain name. Additionally, based on publicly available information, one of M-13’s
mail servers resolves to IP address 89.107.124.38.

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Conclusion
116. For the foregoing reasons, there is probable cause to believe that KLYUSHIN,
ERMAKOV, SLADKOV, IRZAK, and RUMIANTCEV conspired, in violation of Title 18,
United States Code, Section 371, to commit computer intrusion, contrary to Title 18, United
States Code, Section 1030(a)(4); wire fraud, contrary to Title 18, United States Code, Section
1343, and securities fraud, contrary to Title 15, United States Code, Sections 78j(b) and 78ff(a).

Respectfully submitted,

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Ube
BJ Kang

Special Agent

Federal Bureau of Investigation

Subscribed and sworn to me etepouialy on this 20 day of Wancln , 2021

  

 

 
  

HONORABLE: MARIANNE B, BO Mite
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